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Port Bay Road, Wolcott, NY 14590, and placed Roger ROBERTS under arrest for multiple

violations of New York State law.

       15.    ROBERTS was transported to the NYSP Wolcott office without incident.

There, ROBERTS was advised of his Miranda rights, which he waived verbally before

engaging in an interview with NYSP Investigator Szklany.

       16.    In sum and substance, ROBERTS told investigators that he and his wife had

gotten into an argument that morning. He did not recall specifically what he was doing on the

computer when his wife came home. He admitted to pulling out his shotgun during the

argument because he got enraged when his wife confronted him about viewing child

pornography. ROBERTS denied viewing or possessing child pornography.

       17.    ROBERTS told Inv. Szklany that he does utilize the social media application

Snapchat.

                              Search o/8179 East Port Bay Road


       18.    NYSP investigators subsequently returned to 8179 East Port Bay Road,

Wolcott, NY 14590, to search the property (as CW had previously given them permission to

do).

       19.    During the search of the residence, NYSP investigators observed impressions

in the carpeting in the first-floor den, indicating that furniture had recently been removed.

Power cords and computer related equipment were present in the den; however, no computer

was present. Investigators found DEVICE 1 (an Apple iPhone Model A1687), and two

Remington shotguns in the residence. CW· informed the investigators that DEVICE 1

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